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     SCHEDULED FOR ORAL ARGUMENT SEPTEMBER 16, 2024
                     No. 24-1113 (and consolidated cases)


            In the United States Court of Appeals
             for the District of Columbia Circuit
                             __________________
                   TIKTOK INC. and BYTEDANCE, LTD.,
                                                   Petitioners,
                                        v.
                            MERRICK B. GARLAND,
        in his official capacity as Attorney General of the United States,
                                              Respondent.
                             __________________
                 On Petitions for Review of Constitutionality of
 the Protecting Americans from Foreign Adversary Controlled Applications Act
                            __________________
 NOTICE OF INTENT OF FIRST AMENDMENT LAW PROFESSORS
 TO FILE ANAMICI CURIAE BRIEF IN SUPPORT OF PETITIONERS
                    __________________
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                  DISCLOSURE STATEMENT PURSUANT TO
                          CIRCUIT RULE 26.1

         Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rules
26.1 and 29(b), undersigned counsel certifies:
         Amici curiae are natural persons and as such have no parent corporations or
stock.

                                                /s/   Meryl   Conant       Governski
                                                Meryl Conant Governski




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               NOTICE OF INTENT TO FILE AMICUS BRIEF

       Pursuant to Fed. R. App. P. 29(a), D.C. Circuit Rule 29(b), amici represent

that they intend to participate in this case as amici curiae. Petitioners and Respondent

have consented to the filing of this amicus curiae brief.

       Amici are scholars of constitutional law who write and teach about the First

Amendment. Amici have an interest in ensuring that this Court rule in accordance

with the fundamental freedoms protected by the First Amendment. The names and

associations of amici are printed below. †

       Amici respectfully submit that this notice is timely filed under D.C. Circuit

Rule 29(b). Amici have filed their brief on June 27, 2024 in accordance with D.C.

Circuit Rule 29(c).

                                                              Respectfully submitted,

                                                        /s/ Meryl Conant Governski
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†
    Institutions are listed for identification purposes only. Opinions expressed are
    those of the individual amici, and not necessarily of their affiliated institutions.


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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 28th day of June, 2024, I electronically filed the
foregoing with the Clerk of the Court for the United States Court of Appeals for the
District of Columbia Circuit using the appellate CM/ECF system.
      Counsel for all parties to the case are registered CM/ECF users and will be
served by the appellate CM/ECF system.

                                                        /s/ Meryl Conant Governski
                                                           Meryl Conant Governski




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